                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 1 of 16 Page ID #:1



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                        8     Bruce Sudano, in his capacity as Executor
                              of the Estate of Donna Summer Sudano d/b/a
                        9     Sweet Summer Night Music
                       10
                       11                        UNITED STATES DISTRICT COURT
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                       12           CENTRAL DISTRICT OF CALIFORNIA –WESTERN DIVISION
                       13
                       14     BRUCE SUDANO, in his capacity as        Case No. 2:24-cv-01586
                              Executor of the ESTATE OF DONNA
                       15     SUMMER SUDANO D/B/A SWEET
                              SUMMER NIGHT MUSIC,                     COMPLAINT FOR COPYRIGHT
                       16                                             INFRINGEMENT
                                               Plaintiff,
                       17
                              vs.
                       18
                       19     KANYE OMARI WEST a/k/a “YE,” an         DEMAND FOR JURY TRIAL
                              individual; TYRONE WILLIAM
                       20     GRIFFIN, JR. p/k/a “TY DOLLA
                              $IGN,” an individual; YEEZY
                       21     RECORD LABEL, LLC, a California
                              limited liability company; YZY SND,
                       22     an unknown entity; DOES 1-10,
                              inclusive,
                       23
                                               Defendants.
                       24
                       25
                       26
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                       28
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                                          COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 2 of 16 Page ID #:2



                        1              Plaintiff Bruce Sudano, in his capacity as the Executor of the Estate of Donna
                        2     Summer Sudano d/b/a Sweet Summer Night Music (“Plaintiff”) hereby complains
                        3     and alleges as follows:
                        4                                 NATURE OF THE ACTION
                        5         1.         This action concerns the blatant theft of legendary music artist Donna
                        6     Summer’s (“Summer”) ground-breaking and iconic song, “I FEEL LOVE.” By this
                        7     action, Plaintiff seeks to protect Summer’s musical legacy that made her the
                        8     undisputed “Queen of Disco.”
                        9         2.         Defendants Kanye Omari West a/k/a “Ye” (“West”), Tyrone William
                       10     Griffin, Jr. p/k/a Ty Dolla $ign requested permission from Summer’s estate to
                       11     sample, i.e., use parts of the song, “I FEEL LOVE,” and permission was explicitly
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                       12     denied. Despite this denial, Defendants shamelessly used instantly recognizable
                       13     portions of Summer’s hit song, “I FEEL LOVE,” on their recently released
                       14     collaborative album, “Vultures 1,” and in recorded live concerts.
                       15         3.         It is well documented that, with its innovative use of repetitive
                       16     synthesizer loops, unique pulses, and Summer’s memorable vocals, “I FEEL
                       17     LOVE” forever changed the world of dance music. Given the song’s worldwide
                       18     recognition and influence, “I FEEL LOVE” has immense value and commands a
                       19     substantial licensing fee for its use in recordings, films, television, advertisements,
                       20     and other commercial projects around the world. West and his Co-Defendants
                       21     recognized this significant value and requested permission from Summer's estate
                       22     for its use on their upcoming album.
                       23         4.         Summer’s estate, however, wanted no association with West’s
                       24     controversial history and specifically rejected West’s proposed use of Summer’s “I
                       25     FEEL LOVE.” In the face of this rejection, Defendants arrogantly and unilaterally
                       26     decided they would simply steal “I FEEL LOVE” and use it without permission. In
                       27     their song “GOOD (DON’T DIE),” Defendants re-recorded almost verbatim the
                       28     key, memorable portions of Summer’s iconic song, used it as the hook for their
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                                              COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 3 of 16 Page ID #:3



                        1     own song, and released it to the public knowing they had tried and failed to secure
                        2     legal permission from its rightful owners and had no legal right to do so.
                        3     Defendants’ actions constitute willful copyright infringement, and entitles
                        4     Summer’s estate to recover compensatory damages, maximum statutory damages,
                        5     attorneys’ fees, and disgorgement of any profits earned by West and his Co-
                        6     Defendants from their unauthorized use of one of Summer’s and, indeed, one of
                        7     dance music’s most influential and valuable songs.
                        8         5.       After “GOOD (DON’T DIE)” was released, music fans and critics
                        9     instantly recognized the song as a blatant rip-off of “I FEEL LOVE.” Many
                       10     reputable music services took down the infringing song shortly after its release in
                       11     acknowledgement of Plaintiff’s intellectual property rights.
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                       12         6.       This lawsuit is about more than Defendants’ mere failure to pay the
                       13     appropriate licensing fee for using another’s musical property. It is also about the
                       14     rights of artists to decide how their works are used and presented to the public, and
                       15     the need to prevent anyone from simply stealing creative works when they cannot
                       16     secure the right to use them legally. In this case, it is about protecting Donna
                       17     Summer’s own musical legacy and one of popular music's most influential and
                       18     ground-breaking songs.
                       19                                       THE PARTIES
                       20         7.       Plaintiff Bruce Sudano (“Sudano”) is an individual and the Executor
                       21     of the Estate of Donna Summer Sudano d/b/a Sweet Summer Night Music
                       22     (“Summer Estate”), which co-owns the copyright in the musical composition “I
                       23     FEEL LOVE,” as registered with the United State Copyright Office. Sudano is a
                       24     citizen of the State of California residing in the County of Los Angeles.
                       25         8.       Defendant Kanye Omari West a/k/a “Ye” (“West”) is an individual
                       26     and, based on information and belief, a citizen of the State of California residing in
                       27     Los Angeles County, California. West is a writer and producer of the infringing
                       28     song, “GOOD (DON’T DIE).”
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                                            COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 4 of 16 Page ID #:4



                        1          9.         Defendant Tyrone William Griffin Jr. p/k/a “Ty Dolla $ign” (“Ty
                        2     Dolla $ign”) is an individual and, based on information and belief, a citizen of the
                        3     State of California residing in Los Angeles County, California. Ty Dolla $ign is a
                        4     writer of the infringing song, “GOOD (DON’T DIE).”
                        5        10.          Defendant Yeezy Record Label, LLC is a California limited liability
                        6     company with its principal place of business in Los Angeles County. Based on
                        7     information and belief, Yeezy Record Label, LLC is owned, in whole or in part, by
                        8     West, and is the record label and distributor of the infringing song, “GOOD
                        9     (DON’T DIE).”
                       10        11.          Defendant YZY SND is, based on information and belief, a business
                       11     entity, the legal form and status of which is currently unknown to Plaintiff. Based
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                       12     on information and belief, YZY SND is owned, in whole or in part, by West, that
                       13     acts as the record label and distributor of the infringing song, “GOOD (DON’T
                       14     DIE).”
                       15        12.          Plaintiff is informed and believes, and thereon alleges, that other
                       16     fictitious defendants, not previously identified by name but designated as Does 1
                       17     through 10, may be liable or responsible in whole or in part for the allegations
                       18     contained herein. Once the true names and capacities of these Doe Defendants are
                       19     ascertained, Plaintiff will seek leave to amend this Complaint and substitute their
                       20     true names and capacities.
                       21        13.          Plaintiff is informed and believes, and thereon alleges, that each of the
                       22     Defendants named herein as Does 1 through 10, inclusive, is intentionally,
                       23     negligently, or otherwise legally responsible in some manner, either vicariously or
                       24     by virtue of his, her, or its agents, representatives, or employees, for the acts and
                       25     occurrences alleged herein, and has thereby proximately caused injury or damage
                       26     to Plaintiff.
                       27        14.          Plaintiff is informed and believes, and thereon alleges, that at all times
                       28     mentioned herein, the Defendants, and each of them, were the agents, partners,
                                                                4
                                              COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 5 of 16 Page ID #:5



                        1     alter egos, joint venturers and/or employees of each other, and at all times, were
                        2     acting in the scope and course of said agency, partnership, joint venture, alter ego
                        3     relationship, and/or employment, with full knowledge and consent of each other. In
                        4     doing so, the Defendants, and each of them, acted within the scope of such
                        5     relationship or ratified the acts of the others, and is jointly and severally liable as
                        6     such. Plaintiff further believes that Defendants, and each of them, are the alter egos
                        7     of each other, and that there is such unity of interest and ownership between and
                        8     among Defendants, that such interest have become intertwined and inseparable.
                        9                                JURISDICTION AND VENUE
                       10        15.       The Court has federal question jurisdiction pursuant to 28 U.S.C.
                       11     Sections 1331, 1338(a), as a controversy arising under the Copyright Act and
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                       12     Copyright Revision Act of 1976 (28 U.S.C. Section 101, et seq.), which is within
                       13     the exclusive jurisdiction of the federal courts.
                       14        16.       This Court has personal jurisdiction over the Defendants because,
                       15     based on information and belief, each has purposefully committed, within the State
                       16     of California, the acts from which Plaintiff’s claim arises, knowing and intending
                       17     that such acts would cause injury to Plaintiff within the state. Furthermore,
                       18     Defendants have purposefully availed themselves of the benefits of conducting
                       19     business within the State of California by directing their activities with respect to
                       20     the infringing work, including their marketing and promotion of the infringing
                       21     work, to California residents, who are able to purchase, download, and stream the
                       22     infringing compositions and recordings.
                       23        17.       Upon information and belief, Defendants West and Ty Dolla $ign
                       24     have performed and/or will perform touring dates in California to further exploit
                       25     the infringing compositions and recordings, and have licensed, distributed, and
                       26     exploited the subject infringing song in this state.
                       27        18.       The Court also has general jurisdiction over Defendants, as each
                       28     either resides in this state, has incorporated in this state, has its principal place of
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                                             COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 6 of 16 Page ID #:6



                        1     business in this state, and/or conducts continuous, systematic, and routine business
                        2     within the State of California and the County of Los Angeles and/or within this
                        3     district, including but not limited to writing, recording, performing, and
                        4     distributing music and sound recordings in this state.
                        5        19.       Consequently, by virtue of their pervasive business contacts and
                        6     transactions within the State of California, Defendants are constructively aware
                        7     and can reasonably expect and/or anticipate being sued in this jurisdiction.
                        8        20.       Venue is proper in this District pursuant to 28 U.S.C. Sections 1391
                        9     and §1400(a), as Plaintiff and Defendants are subject to personal jurisdiction in this
                       10     district, and have committed unlawful acts of copyright infringement in this
                       11     district.
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                       12                                FACTUAL BACKGROUND
                       13      Donna Summer is a Legendary Music Artist Known as the “Queen of Disco”
                       14        21.       Donna Summer (“Summer”), a gifted songwriter and performer,
                       15     pioneered a disco and dance music revolution in the mid-1970’s that swept the
                       16     world. Summer started her career in Munich, performing in a German adaptation
                       17     of the musical “Hair,” and shortly thereafter, she met her musical soulmates,
                       18     producer Giorgio Moroder (“Moroder”) and composer Pete Bellotte (“Bellotte”),
                       19     with whom she recorded her breakthrough disco hit “Love to Love You Baby.”
                       20     Summer returned to the United States in 1976 and from that point forward,
                       21     recorded numerous other hit records, including “Hot Stuff,” “Bad Girls,” “Last
                       22     Dance,” “Dim All the Lights,” “On the Radio,” and, of course, “I FEEL LOVE.”
                       23        22.       Summer’s celebrated career included five Grammy awards and a total
                       24     of 32 chart singles on the U.S. Billboard Hot 100, including 14 top-ten singles and
                       25     four number one singles. She claimed a top-forty hit every year between 1976 and
                       26     1984, and her 12 top-ten hits during that period were more than any other
                       27     performer. Summer was the first recording artist to have three consecutive double
                       28     albums reach the top of the U.S. Billboard 200 chart. In total, Summer is
                                                              6
                                            COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 7 of 16 Page ID #:7



                        1     responsible for over 100-million records sold, making her one of the best-selling
                        2     and beloved musical artists of all time.
                        3        23.       Summer, who passed away in 2012, was described in her obituary in
                        4     the London Times as the “undisputed queen of the Seventies disco boom” who
                        5     reached the status of “one of the world’s leading female singers.” In 2013, Summer
                        6     was posthumously inducted into the Rock and Roll Hall of Fame. In December
                        7     2016, Billboard ranked her sixth on its list of the “Greatest of All Time Top Dance
                        8     Club Artists.”
                        9     Summer’s "I FEEL LOVE" Became a Global Smash Hit and One of Popular
                       10                      Music's Most Innovative and Influential Songs
                       11        24.       As part of her early recording career, Summer worked with her music
RUSS, AUGUST & KABAT




                       12     partners Moroder and Bellotte on a concept album called “I Remember
                       13     Yesterday,” which was designed to chronicle the evolution of popular music
                       14     through the decades. One side of the album evoked songs from the 1940’s, 1950’s,
                       15     and 1960’s, with the album’s flip side representing a more modern disco sound.
                       16     The album’s closing track “I FEEL LOVE,” co-written by Summer, Moroder and
                       17     Bellotte, was intended to introduce listeners to the future.
                       18        25.       Combining the use of a Moog synthesizer and Summer’s simmering,
                       19     evocative vocals, “I FEEL LOVE” was and remains an innovative achievement—a
                       20     futuristic breakthrough record that changed dance music forever and continues to
                       21     have a major impact on music today. With its unique modulations and pulses, “I
                       22     FEEL LOVE” was recognized as the first song to combine repetitive synthesizer
                       23     loops with a continuous four-on-the-floor bass drum and an off-beat hi-hat, which
                       24     became a main feature of electronic dance music in the years to come.
                       25        26.       Released in early July 1977, “I FEEL LOVE” was a global smash,
                       26     reaching No. 1 in several countries (including Australia, Austria, Belgium, the
                       27     Netherlands and the United Kingdom, where it remained the top song for an entire
                       28     month), and reaching number 6 on the U.S. Billboard Hot 100 chart. Later,
                                                              7
                                            COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 8 of 16 Page ID #:8



                        1     versions of “I FEEL LOVE” have appeared on a number of greatest hits packages
                        2     and other compilations, including “Endless Summer: Donna Summer’s Greatest
                        3     Hits” in 1994 and “The Journey: The Very Best of Donna Summer” in 2003.
                        4        27.       “I FEEL LOVE,” and its hypnotic, precision sound, has influenced
                        5     artists from David Bowie to Blondie. In 1996, Mixmag named “I FEEL LOVE”
                        6     the 12th-greatest dance single, describing it as the “the first electronic disco
                        7     masterpiece.” In 2006, Slant magazine named it the greatest dance song, noting
                        8     that “it didn’t just suggest the future, it was the future” and that “Summer’s breathy
                        9     vocals still dwelled in the stratosphere of her own manufactured sensation.”
                       10     Billboard rated “I FEEL LOVE” as one of the top 35 disco songs, while Rolling
                       11     Stone listed it as one of 40 songs “that changed the world.” In 2011, the Library of
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                       12     Congress added “I FEEL LOVE” to the National Recording Registry as a
                       13     “culturally, historically, or aesthetically important” work.
                       14        28.       With its worldwide commercial and critical success, “I FEEL LOVE”
                       15     is instantly recognizable as one of Summer’s (and dance music’s) greatest hits.
                       16     Summer’s estate has been careful to protect the legacy and value of the song,
                       17     granting licensing rights only in appropriate circumstances, including the nature
                       18     and purpose of the use as well as the requesting party.
                       19                  Registration of “I FEEL LOVE” Musical Composition
                       20                               with the U.S. Copyright Office
                       21        29.       The musical composition “I FEEL LOVE,” co-authored by Summer,
                       22     Moroder, and Bellotte, was duly registered with the U.S. Copyright Office,
                       23     evidenced by Registration No. EU0000791947 (issued June 1, 1997), and renewed
                       24     pursuant to Registration No. RE0000979499 (issued January 3, 2005).
                       25        30.       In 1995, Donna Summer d/b/a Sweet Summer Night Music acquired
                       26     33.34% ownership of the copyright in the musical composition “I FEEL LOVE,”
                       27     effective as of July 1, 1992, which assignment was recorded with the U.S.
                       28     Copyright Office as Document No. V3507865. Summer acquired her rights to “I
                                                              8
                                            COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 9 of 16 Page ID #:9



                        1     FEEL LOVE” from Rick’s Music, Inc., an entity affiliated with Warner Chappell
                        2     Music (“Warner Chappell”), which administers publishing rights on behalf of
                        3     Moroder and Bellotte.
                        4           31.     After Summer passed away in 2012, her ownership interest in her
                        5     copyrights, including her 33.34% co-ownership rights in “I FEEL LOVE,” were
                        6     transferred to Plaintiff Bruce Sudano, as Executor of the Summer Estate.
                        7            Plaintiff’s Outright Denial of Defendants’ Request to Use the “I FEEL
                        8                                    LOVE” Composition
                        9           32.     On or around January 25, 2024, Alien Music (on behalf of
                       10     Defendants) reached out to the Summer Estate to confirm its control and respective
                       11     ownership of the composition. The estate’s publishing administrator confirmed the
RUSS, AUGUST & KABAT




                       12     Summer Estate owns 33.34% of the “I FEEL LOVE” composition, with Warner
                       13     Chappell Music (“Warner Chappell”) having rights to the remaining 66.6% on
                       14     behalf of Summer’s acclaimed music partners, Morodor and Bellotte.
                       15           33.     On or around January 31, 2024, Alien Music submitted a clearance
                       16     request to use excerpts from “I FEEL LOVE” in “a new song by Yeezy recording
                       17     artist Kanye West.” In its request, Alien Music acknowledged West and
                       18     Defendants had used and sampl[ed] vocal elements” from “I FEEL LOVE.” Alien
                       19     asked for expedited review and advised that West and Co-Defendants were looking
                       20     to “release [their song] on 2/9,” indicating Defendants had already completed and
                       21     readied their song for release without obtaining permission or even notifying the
                       22     Summer Estate of their use.
                       23           34.     In considering Defendants’ request, the Summer Estate not only
                       24     considered the immense commercial value of the “I FEEL LOVE” composition,
                       25     but also the potential degradation to Summer’s legacy. West is known as a
                       26     controversial public figure whose conduct has led numerous brands and business
                       27     partners to disassociate from him.
                       28     ///
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                                             COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 10 of 16 Page ID #:10



                        1           35.      As one of the most requested copyrights for exploitation in recordings
                        2      and audio-visual content, and by famous brands in the United States, Canada, and
                        3      worldwide, the Summer Estate sought to protect the valuable intellectual property
                        4      of “I FEEL LOVE” from any public association with the negative publicity
                        5      surrounding West.
                        6           36.      Accordingly, on or around February 3, 2024, the Summer Estate
                        7      unambiguously denied Defendants’ clearance request. The estate wrote to
                        8      Defendants’ representative that this denial meant an “absolute prohibition against
                        9      any licensee (or other recording artist) covering I FEEL LOVE from using a Donna
                       10      Summer ‘soundalike’, or using the original Donna Summer recording…” This
                       11      unequivocal denial was communicated not only in writing, but also twice verbally
RUSS, AUGUST & KABAT




                       12      over the phone. Defendants ignored the Summer Estate’s denial.
                       13           37.      The following week, the Summer Estate learned that after being
                       14      denied clearance to use the composition, Defendants’ representatives then
                       15      approached Summer’s record label, Universal Music Enterprises, to request
                       16      clearance of the “I FEEL LOVE” master recording, which was also denied.
                       17                 West and Co-Defendant’s Willful Copyright Infringement and
                       18                               Exploitation of “I FEEL LOVE”
                       19           38.      On or around February 10, 2024, Summer’s estate was shocked to
                       20      learn that West and Ty Dolla $ign’s joint album, “Vultures 1,” had been released
                       21      through West’s record label with the inclusion of the infringing song “GOOD
                       22      (DON’T DIE),”1 despite Defendants requesting and being expressly refused
                       23      permission to use “I FEEL LOVE” more than once.
                       24           39.      In the face of these repeated denials, West and Co-Defendants
                       25      attempted to get around this roadblock by instead making an unauthorized
                       26      interpolation. West and his Co-Defendants used the song’s iconic melody as the
                       27      hook for their infringing song and essentially re-recorded almost verbatim key,
                       28
                               1
                                   Defendants’ song “GOOD (DON’T DIE)” was originally named “So Good.”
                                                                   10
                                              COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 11 of 16 Page ID #:11



                        1      instantly recognizable portions of “I FEEL LOVE” using a singer soundalike to
                        2      Summer, with slight changes to the lyrics (also done without permission).
                        3      Although Defendants’ insubstantial changes certainly do not insulate them from
                        4      their willful copyright infringement of "I FEEL LOVE," it is important that courts
                        5      protect artists against theft by even less obvious encroachments on their valuable
                        6      creative works.
                        7         40.       When listening to both songs, any average listener can immediately
                        8      hear the distinctive similar melody and compositional elements present in both
                        9      songs, which sound so identical that it appears Defendants may have gone so far as
                       10      sampling the original master recording of Summer. Indeed, when the infringing
                       11      song “GOOD (DON’T DIE)” was first released, music fans, critics, and music
RUSS, AUGUST & KABAT




                       12      publications immediately recognized and/or believed the song had used, sampled,
                       13      and/or infringed on “I FEEL LOVE.”
                       14         41.       At the request of the Summer Estate and the co-owners of “I FEEL
                       15      LOVE,” legitimate streaming platforms, distributors, and retailers, including
                       16      Spotify and Apple Music, immediately removed the obviously infringing recording
                       17      from their respective services and platforms.
                       18         42.       By the time Spotify removed the infringing song “GOOD (DON’T
                       19      DIE)” from its music streaming platform on February 14, 2024, the song had
                       20      garnered over 8,000,000 streams in just four days, contributing to West overtaking
                       21      the number 1 spot on Spotify’s list of most streamed artists. The next day, Apple
                       22      followed suit and pulled Defendants’ infringing song from the Apple Music
                       23      streaming platform and iTunes, but not before the song was streamed and/or
                       24      downloaded millions of times. Multiple versions of the infringing song are still
                       25      accessible on YouTube, and before West’s official YouTube release was taken
                       26      down, the infringing song had over 500,000 views and counting.
                       27         43.       West and Ty Dolla $ign have also publicly performed the infringing
                       28      song in recorded live concerts and “listening parties.” Clips of their recorded
                                                               11
                                             COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 12 of 16 Page ID #:12



                        1      performances appear on YouTube and other outlets, having amassed over 900,000
                        2      views and counting on YouTube alone. The versions performed live by West and
                        3      Ty Dolla $ign, which were captured and uploaded to YouTube, contained an actual
                        4      recorded sample of the “I FEEL LOVE” master recording.
                        5         44.       As of February 16, 2024, “Vulture 1” remains the top album streamed
                        6      on Spotify both globally and in the United States, and early indicators suggest
                        7      massive distribution, the full scope of which Plaintiff is still working to ascertain.
                        8                                 FIRST CAUSE OF ACTION
                        9                                   (Copyright Infringement)
                       10                                    (Against All Defendants)
                       11         45.       Plaintiff repeats and re-alleges each of the foregoing paragraphs as
RUSS, AUGUST & KABAT




                       12      though fully set forth herein.
                       13         46.       Plaintiff owns 33.34% of the U.S. copyright in the musical
                       14      composition “I FEEL LOVE,” with Warner Chappell owning the remaining
                       15      66.66%.
                       16         47.       Defendants’ unauthorized reproduction, distribution, public
                       17      performance, display, and creation of an interpolation of “I FEEL LOVE” infringes
                       18      on Plaintiff’s exclusive rights in violation of the Copyright Act, 17 U.S.C. §§ 101,
                       19      et seq.
                       20         48.       Defendants sought, and were unambiguously denied, permission to
                       21      copy or interpolate any portion of “I FEEL LOVE” into “GOOD (DON’T DIE)”
                       22      (the “Infringing Work”).
                       23         49.       The Infringing Work copies quantitatively and qualitatively the most
                       24      distinct, important, recognizable, and significant portions of “I FEEL LOVE,” and
                       25      certainly, the Infringing Work could not exist without the stolen portions of “I
                       26      FEEL LOVE.”
                       27         50.       From the date of the creation of the Infringing Work, Defendants have
                       28      infringed on Plaintiff’s copyright interest in “I FEEL LOVE” including: (a) by
                                                               12
                                             COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 13 of 16 Page ID #:13



                        1      substantially copying and publicly performing, or authorizing the copying and
                        2      public performances of “I FEEL LOVE” at live concerts, personal appearances,
                        3      and on film, video, television, internet, and otherwise; (b) by authorizing the
                        4      reproduction, distribution, and sale of the records, digital downloads, and
                        5      streaming through the execution of licenses, and/or actually selling, manufacturing,
                        6      and/or distributing “I FEEL LOVE” through various sources and outlets; (c) by
                        7      substantially copying and the related marketing and promotion of the sale of the
                        8      records, videos, downloads, streams, tickets to concerts and other performances,
                        9      and other merchandise; and (d) by participating in and furthering the
                       10      aforementioned infringing acts, and/or sharing in the proceeds therefrom, all
                       11      through substantial use of “I FEEL LOVE” in and part of the Infringing Work and
RUSS, AUGUST & KABAT




                       12      the album, “Vultures 1,” packaged in a variety of configurations and digital
                       13      downloads, streams, mixes, and versions, and performed in a variety of ways
                       14      including internet, radio, concerts, personal appearances, film, television,
                       15      downloads, streams, and otherwise.
                       16            51.    At all relevant times, Defendants’ conduct has been and continues to
                       17      be knowing, willful, and with complete disregard of Plaintiff’s rights. With
                       18      knowledge of the infringement, Defendants have (in addition to their direct
                       19      infringement) induced, caused, or materially contributed to, the infringing conduct
                       20      of others, such that they should be found to be contributorily liable. Defendants
                       21      also had the right and ability to control other infringers and have received a direct
                       22      financial benefit from that infringement, such that Defendants are also vicariously
                       23      liable for copyright infringement.
                       24            52.    Defendants’ infringement continues as the album, “Vultures 1,” on
                       25      which the Infringing Work appears, continues to be sold and/or to the extent the
                       26      Infringing Work continues to be licensed for sale, downloads, streams, and/or
                       27      ringtones, and other exploitations by Defendants and/or their agents.
                       28      ///
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                                             COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 14 of 16 Page ID #:14



                        1         53.        As a direct and proximate result of Defendants’ conduct, Plaintiff has
                        2      suffered actual damages, including lost profits, lost opportunities, and loss of
                        3      goodwill.
                        4         54.        Pursuant to 17 U.S.C. § 504(b), Plaintiff is entitled to actual damages,
                        5      including disgorgement of Defendants’ profits attributable to the infringement, as
                        6      will be proven at trial.
                        7         55.        In the alternative, pursuant to 17 U.S.C. § 504(c), Plaintiff is entitled
                        8      to the maximum statutory damages of $150,000 per willful infringement.
                        9         56.        Pursuant to 17 U.S.C. § 505, Plaintiff is also entitled to their costs,
                       10      including reasonable attorneys’ fees and costs.
                       11         57.        Defendants’ conduct is causing and, unless enjoined by this Court,
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                       12      will continue to cause Plaintiff irreparable injury that cannot be fully compensated
                       13      or measured in monetary terms. Plaintiff has no adequate remedy at law, and
                       14      pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a preliminary and permanent
                       15      injunction prohibiting the reproduction, distribution, sale, public performance, or
                       16      other use or exploitation of the Infringing Work.
                       17         58.        Pursuant to 17 U.S.C. § 503, Plaintiff is further entitled to the remedy
                       18      of impoundment and/or disposition of all infringing articles, including but not
                       19      limited to: (i) all copies or phonorecords made or used in violation of the “I FEEL
                       20      LOVE” copyright, and (ii) all masters, tapes, film negatives, or other articles by
                       21      means of which such copies or phonorecords may be reproduced.
                       22                                    PRAYER FOR RELIEF
                       23               WHEREFORE, Plaintiff prays for judgement against Defendants and for the
                       24      following relief:
                       25               A.   An award of damages pursuant to 17 U.S.C. § 504(b), including actual
                       26      damages, such as lost profits, lost opportunities, loss of goodwill;
                       27               B.   Disgorgement of Defendants’ profits attributable to the infringement
                       28      pursuant to 17 U.S.C. § 504(b);
                                                                14
                                              COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 15 of 16 Page ID #:15



                        1            C.      In the alternative, statutory damages for Defendants’ willful copyright
                        2      infringement in the amount of $150,000 for each act of infringement pursuant to 17
                        3      U.S.C. § 504(c);
                        4            D.      An award of attorneys’ fees and costs pursuant to 17 U.S.C. § 505 and
                        5      under any other applicable law;
                        6            E.      For pre-judgment and post-judgment interest according to law, as
                        7      applicable;
                        8            F.      A preliminary and permanent injunction prohibiting Defendants and
                        9      their agents, servants, employees, officers, attorneys, successors, licensees,
                       10      partners, and assigns, and all persons acting in concert or participation with each or
                       11      any of them, from directly or indirectly infringing, or causing, enabling,
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                       12      facilitating, encouraging, promoting, inducing, and/or participating in the
                       13      infringement of Plaintiff’s rights protected under the Copyright Act;
                       14            G.      Impoundment and/or disposition of all infringing articles, including
                       15      but not limited to: (i) all copies or phonorecords made or used in violation of the “I
                       16      FEEL LOVE” copyright, and (ii) all masters, tapes, film negatives, or other articles
                       17      by means of which such copies or phonorecords may be reproduced, and;
                       18            H.      For such other and further relief as this Court may deem just and
                       19      proper.
                       20      Dated: February 27, 2024                  RUSS, AUGUST & KABAT
                       21
                       22
                       23                                            By:
                                                                        Stanton L. Stein
                       24                                               Bennett A. Bigman
                                                                        Erica S. Kim
                       25                                               Attorneys for PLAINTIFF
                                                                        Bruce Sudano, in his capacity as
                       26                                               Executor of the Estate of Donna
                                                                        Summer Sudano d/b/a Sweet Summer
                       27                                               Night Music
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                                             COMPLAINT FOR COPYRIGHT INFRINGEMENT
                            Case 2:24-cv-01586 Document 1 Filed 02/27/24 Page 16 of 16 Page ID #:16



                        1                               DEMAND FOR JURY TRIAL
                        2            Pursuant to Federal Rule of Civil Procedure 38(b) and otherwise, Plaintiff
                        3      respectfully demands a trial by jury.
                        4
                        5      Dated: February 27, 2024                   RUSS, AUGUST & KABAT

                        6
                        7
                        8                                              By:
                                                                          Stanton L. Stein
                        9                                                 Bennett A. Bigman
                                                                          Erica S. Kim
                       10                                                 Attorneys for PLAINTIFF
                                                                          Bruce Sudano, in his capacity as
                       11                                                 Executor of the Estate of Donna
                                                                          Summer Sudano d/b/a Sweet Summer
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                       12                                                 Night Music

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